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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.,

               Plaintiff,

      v.                                  Civil Action No. 23-cv-1615-CKK

XAVIER BECERRA, U.S. Secretary of
Health & Human Services; et al.,

               Defendants.


               MEMORANDUM OF LAW IN SUPPORT OF
           PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT



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                                 INTRODUCTION

      In the Inflation Reduction Act (IRA) enacted last summer, Congress created a

new “Drug Price Negotiation Program” for Medicare (the Program).             The name

suggests Congress wanted Medicare to negotiate prices with the manufacturers of

prescription drugs. And that is certainly how the Program was sold to the American

people. After all, why shouldn’t Medicare be allowed to negotiate prices with its

suppliers? That is how our economy works: We trust open bargaining to result in

voluntary agreements that maximize social welfare. Unsurprisingly, polls show that

authorizing Medicare to negotiate drug prices enjoys broad approval.

      Despite its name and marketing, however, the Program involves no genuine

negotiations and no voluntary agreements. For if Congress had merely empowered

Medicare to negotiate over drug prices, that would have created a risk that the parties

would not reach a deal, leaving some drugs unavailable to beneficiaries. Congress

could not afford to take that political risk: It needed to reduce Medicare’s costs while

still guaranteeing American seniors unrestricted access to their medications.

      The Program therefore uses the threat of enormous monetary penalties to

compel manufacturers to provide Medicare beneficiaries with “access” to their drugs

at whatever discounted price the Government, in its unreviewable discretion, selects.

It then disguises those forced transfers as the product of a negotiated agreement, to

deceive the public into thinking the manufacturers have “agreed” that these prices

are “fair,” and thereby to conceal the reality of the Program’s radical central-planning

approach (and concomitant harms to future innovation).



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      This is not “negotiation.” It is tantamount to extortion. And it violates the

Constitution in at least two respects.

      First, the Fifth Amendment requires the Government to pay just compensation

if it takes private property for public use. But the whole point of the Program is to

take prescription drugs without paying their fair value. It uses the threat of crippling

penalties to force manufacturers to transfer their products to Medicare beneficiaries

for a fraction of their worth. The Program thus requisitions property for public use

but—by design—refuses to pay just compensation. It instead uses coercive sanctions

to seize discounted goods for the pecuniary benefit of the Government (as the insurer

of Medicare beneficiaries). That amounts to a classic per se taking.

      Second, the IRA’s mechanism for effecting these takings is an offense to the

First Amendment. Instead of simply empowering the Department of Health and

Human Services (HHS) to set the prices that Medicare will pay for covered drugs, the

Program operates through a charade of sham “negotiations” that concludes with the

manufacturers entering public “agreements” confessing that HHS’s prices are “fair.”

The only purpose served by that circuitous process is political deception—to allow the

Government to pretend that HHS is entering voluntary agreements with businesses

who concede that the resulting prices are fair. Yet conscripting companies to conceal

unpopular price-setting is exactly the parroted orthodoxy that the First Amendment’s

compelled-speech doctrine is meant to forbid. If the Government wants to justify

turning American drug innovators into the equivalent of public utilities, it must do

so using its own voice, not by forcing the industry to feign agreement.




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      These constitutional violations cannot be excused by pretending the companies

voluntarily waived their rights by participating in Medicare or Medicaid.            The

Program does not impose conditions on participation in those programs, enforced by

exclusion for those that breach. Rather, it imposes affirmative mandates to negotiate

and agree, backed by severe penalties for those that refuse. Indeed, a manufacturer’s

participation in Medicare and Medicaid matters only on the back end: The IRA’s

penalties can be “suspended” if a manufacturer terminates such participation—not

just for the drug at issue but for all its products, thereby abandoning tens of millions

of patients and losing access to almost half of the U.S. prescription drug market.

      Even characterized as a condition, that is unconstitutional. The Government

cannot leverage its Spending Clause power and dominance of the prescription drug

market to coerce manufacturers to abandon their constitutional rights. The IRA does

not offer any voluntary choice.      Rather, it has all the classic hallmarks of an

unconstitutional condition: It extracts concessions respecting one product by holding

hostage distinct transactions involving other products; it offers a false “choice” that is

clearly designed to coerce; and it exploits decades of reliance on Congress’s statutory

promise that Medicare would not interfere with private pricing negotiations.

      In short, the IRA uses severe penalties to requisition medicines while refusing

to pay their true value—while coercing manufacturers to pretend it is all “fair.” The

Constitution does not countenance this charade. This Court should declare that the

Program effects uncompensated takings under the Fifth Amendment, and enjoin its

regime of sham “agreements” under the First Amendment.




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                                BACKGROUND

      A.    The Federal Government Controls Nearly Half of the
            Prescription Drug Market in the United States.

      The Government “dominates” the prescription drug market, accounting “for

almost half the annual nationwide spending on prescription drugs.” Sanofi Aventis

U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023).

      The largest program is Medicare, which covers “nearly 60 million aged or

disabled Americans.” Azar v. Allina Health Servs., 139 S. Ct. 1804, 1808 (2019). As

relevant here, Medicare operates two major prescription drug programs. Part B

covers drugs administered by a physician. 42 U.S.C. §§ 1395k(a)(1), 1395x(s)(2)(A).

Part D allows eligible individuals to enroll in privately operated plans for self-

administered prescription drugs, with Medicare covering most of the premium costs.

See Action All. of Senior Citizens v. Leavitt, 483 F.3d 852, 854 (D.C. Cir. 2007).

Through these two programs, Medicare “comprises approximately 40 percent of the

pharmaceutical market in the United States.” R. Knox, Note, More Prices, More

Problems, 18 YALE J. HEALTH POL’Y, L. & ETHICS 191, 202 (2019) (Knox).

      Historically, both programs relied on market-based pricing. Medicare Part B

reimbursement rates are based on an “average sales price” methodology. 42 U.S.C.

§ 1395w–3a. And when Congress enacted Medicare Part D, it prohibited HHS from

“interfer[ing] with the negotiations between drug manufacturers and pharmacies and

[private plan sponsors].” Id. § 1395w–111(i). Plan sponsors, indeed, “can and do

negotiate prices with prescription drug manufacturers,” and have market incentives

to secure lower pharmaceutical prices. Knox, supra, at 206–07.




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       The Government’s second major drug benefit program is operated by Medicaid,

which provides health coverage for more than 70 million low-income Americans. See

id. at 208–09. Medicaid programs are jointly administered by the States, and all

state programs offer at least some prescription drug benefits for at least some classes

of eligible beneficiaries. See id. at 209.

       These two programs are linked: A manufacturer’s products cannot be covered

by Medicare Part B unless it signs agreements to offer its products through Medicaid.

See 42 U.S.C. § 1396r–8(a)(1); Knox, supra, at 209–10.

       B.     The IRA Compels Manufacturers To “Agree” To Sell Their
              Drugs at Heavily Discounted “Fair” Prices.

       The IRA’s Program revolutionizes how the Government pays for prescription

drugs. Using the threat of enormous penalties, the IRA coerces manufacturers to

enter “negotiations” with HHS and then to reach “agreements” committing to transfer

their most valuable pharmaceutical products to Medicare beneficiaries at steep,

agency-dictated discounts inuring to the Government’s benefit.

       The Program begins with HHS and its sub-agency, the Centers for Medicare &

Medicaid Services (CMS) selecting the covered drugs. In September 2023, the agency

must select 10 drugs, for which price agreements will take effect in 2026. See 42

U.S.C. §§ 1320f(d), 1320f–1(a)(1). In February 2025 and February 2026, HHS must

add 15 new drugs for pricing in 2027 and 2028 respectively. Id. § 1320f–1(a)(2)–(3).

Starting in February 2027, the Secretary must annually choose 20 new drugs to add.

Id. § 1320f–1(a)(4). The IRA directs HHS to pick drugs based on their total cost to

Medicare over the prior 12 months. Id. § 1320f–1(b)(1)(A).



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       Drug selection is cumulative: Each year HHS picks an additional 10, 15, or 20

new drugs to add to the program. Meanwhile, previously selected drugs remain

subject to the Program until HHS determines that a generic or biosimilar version of

the drug is approved and marketed. Id. § 1320f–1(c)(1).

       After HHS selects the first 10 drugs in September 2023, manufacturers will

have until October 1 to “enter into agreements” whereby they pledge to participate in

the Program’s “negotiation” and ultimately accept a “maximum fair price” (MFP) at

which they must sell the drug. Id. § 1320f–2(a). Manufacturers will be required to

sign a written contract agreeing to participate in the Program. Decl. of Jacob Roth

(Roth Decl.), Exh. A (CMS Revised Guidance) at 118. That contract uses the words

“agree” and “fair” dozens of times. See Roth Decl. Exh. B (Template Agreement).

       The Secretary then kicks off the “negotiation” process by issuing a “written

initial offer” along with a “concise justification.” 42 U.S.C. § 1320f–3(b)(2)(B). The

IRA sets a ceiling on the price that HHS may offer, calculated as a percentage of a

benchmark market-based price (the non-federal average manufacturer price). The

ceiling ranges from (at the top end) 75% of that benchmark for recently approved

drugs down to just 40% for drugs that have been approved for over 16 years. Id.

§ 1320f–3(b)(2)(F), (c)(1)(C). In other words, the Program mandates a Government

discount of at least 25% to 60% from a market benchmark. And there is no floor on

the price HHS may offer. Indeed, the Secretary effectively enjoys uninhibited—and

supposedly unreviewable, id. § 1320f–7—discretion. The IRA merely instructs him

to consider various factors in setting the price. Id. § 1320f–3(b)(2)(C)(ii), (e).




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      Following some back and forth, the “negotiations” for the first round of the

Program must end by August 1, 2024. 42 U.S.C. §§ 1320f(d)(5)(C), 1320f–3(b)(2)(E).

By that date, the manufacturer must “respond in writing” to the Secretary’s “final

offer.” CMS Revised Guidance 158. To “accept,” a manufacturer must “formalize

agreement on an MFP” by signing an “Addendum” that “sets forth the agreed-upon

MFP.” Id. at 159; see also Template Agreement at 7 (setting forth this “Negotiated

Maximum Fair Price Addendum”). HHS will “publish,” for public consumption, the

MFP “negotiated with the manufacturer,” along with its curated “explanation” for

that price. 42 U.S.C. § 1320f–4(a); CMS Revised Guidance 162–63.

      Upon “agreement” on an MFP, the manufacturer becomes obligated to provide

“access to such price to” Medicare beneficiaries (beginning in 2026 for the first cycle).

Id. § 1320f–2(a)(1). Failure to provide “access” triggers a civil monetary penalty of 10

times the difference between the price the manufacturer charges and the MFP, per

unit sold, id. § 1320f–6(a), plus a $1 million-per-day penalty for violation of the

manufacturer’s “agreement” to provide such “access,” id. § 1320f–6(c).

      Critically, although the statute speaks of “agreements,” manufacturers are

coerced to enter into those “agreements” by threat of draconian tax penalties. If a

manufacturer refuses to sign the initial agreement to “negotiate,” or fails to “agree”

to the final MFP by the deadline, it begins to incur a daily “excise tax” that starts at

186% (and escalates over time to 1,900%) of the drug’s total daily revenues (from all

sources, not just Medicare). See 26 U.S.C. § 5000D; Cong. Rsch. Serv., Tax Provisions

in the Inflation Reduction Act of 2022 (H.R. 5376) at 4, tbl. 2 (2022).




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      As those figures suggest, Congress designed this scheme to guarantee

“agreement”—the confiscatory penalties make it irrational not to agree. Congress

thus projected this “tax” to raise “no revenue.” Joint Comm. on Tax’n, Estimated

Budget Effects of the Revenue Provisions of Title XIII—Committee On Ways And

Means, of H.R. 5376, Fiscal Years 2022–2031, at 8 (Nov. 19, 2021).

      The only way to avoid this tax is for a manufacturer to terminate the contracts

that allow Medicare and Medicaid to cover its products. The statute “suspend[s]” the

penalty on days when a company is a party to no such agreements—not just for the

drug at issue, but for any products. 26 U.S.C. § 5000D(c). 1 So, a manufacturer can

avoid the Program only by forfeiting its access to half of the U.S. prescription drug

market, leaving tens of millions of Americans without their medications.

      And even there, Congress designed the “choice” to be illusory. The IRA delays

a manufacturer’s ability to end Medicare Part D agreements for between 11 and 23

months. 42 U.S.C. § 1395w–114a(b)(4)(B). To avoid a penalty for failure to sign the

initial agreement by October 1, 2023, a company thus would have had to terminate

by January 31, 2022—months before the IRA became law. In response to litigation,

CMS developed a purported “fix”: The agency has the power to punish manufacturers

by terminating them more quickly for “violation[s]” or other “good cause.” Id. CMS

now dubiously claims it will use that authority to help manufacturers who wish to

circumvent the statutory delay. See CMS Revised Guidance 120–21, 130–31.


      1 The statute refers only to Medicare Part D and Medicaid agreements, but the

latter is a prerequisite to Medicare Part B coverage, 42 U.S.C. § 1396r–8(a)(1), so
avoiding the IRA’s tax would require forfeiting those payments too.



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      C.     The Government Falsely Markets the Program as “Voluntary.”

      The Government has repeatedly characterized the Program as a system of

“negotiations” culminating in “voluntary” “agreements.” The statute itself brands its

scheme as a “Negotiation Program” and uses the word “negotiation” dozens of times.

Its supporters in Congress hewed carefully to that line. 2

      So has the Administration. On signing the IRA, the President claimed it

merely gave Medicare “the power to negotiate lower prescription drug prices.”

Remarks by Pres. Biden on Medicare and the Inflation Reduction Act (Sept. 27, 2022),

https://www.whitehouse.gov/briefing-room/speeches-remarks/2022/09/27/remarks-

by-president-biden-on-medicare-and-the-inflation-reduction-act/. He made the same

assertion during his 2023 State of the Union. See Pres. Biden’s State of the Union

Address (Feb. 7, 2023), https://www.whitehouse.gov/state-of-the-union-2023/. Even

responding to this lawsuit, the White House insisted that “nothing in the Constitution

… prevents Medicare from negotiating lower drug prices.” White House Says It Will

Win Merck Lawsuit, Defends Medicare Drug Negotiations, REUTERS (June 6, 2023).

      HHS and CMS are equally committed to the charade. See, e.g., CMS, Fact

Sheet: The Inflation Reduction Act Lowers Health Care Costs for Millions of

Americans (Oct. 5, 2022). Indeed, in its preliminary guidance in March, CMS “note[d]

that entering in an Agreement” to sell at the agency-imposed MFP “is voluntary”—


      2 See, e.g., 168 Cong. Rec. H7561-02, at 8, 24, 39 (daily ed. Aug. 12, 2022) (Reps.

Torres, Jackson Lee, McGovern); 168 Cong. Rec. S4070-02, at 306, 318 (daily ed. Aug.
6, 2022) (Sens. Sanders, Casey); 168 Cong. Rec. S4070-01, at 1 (daily ed. Aug. 6, 2022)
(Sen. Schumer); 167 Cong. Rec. H6375-04, at 840, 854, 863, 878 (daily ed. Nov. 18,
2021) (Reps. Yarmouth, Craig, Wasserman Schultz, Pallone).



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ironically, just one sentence after reminding manufacturers they will face massive

penalties for failing to agree. Roth Decl. Exh. C (CMS Initial Memo) at 27. As even

the Revised Guidance makes clear, manufacturers have only three “choices”—agree

to Government dictates, pay penalties potentially approaching $1 billion per day, or

abandon nearly half the U.S. market and tens of millions of patients. CMS Revised

Guidance 129. And CMS still absurdly insists that choice is “voluntary.” Id.

      D.     Merck Will Imminently Be Subject to the Program.

      Based on Medicare spending levels, Merck’s diabetes drug Januvia will be

selected for “negotiations” in September 2023. See Roth Decl. Exh. D, S. Dickson &

I. Hernandez, Drugs Likely Subject to Medicare Negotiation, 2026-2028, 29 JMCP

229, 231 (Mar. 2023) (Dickson & Hernandez); Decl. of Patrick Davish (Davish Decl.)

¶ 13. Other Merck pharmaceuticals, including another diabetes drug (Janumet) and

a cancer treatment (Keytruda), are projected to be swept up in the cycles that follow.

See Dickson & Hernandez, supra, at 231–32; Davish Decl. ¶ 25, 32.

      That means Merck will be forced to sign a contract agreeing to “negotiate” a

“fair” price for these drugs (for Januvia, by October 1, 2023), or else trigger tens of

millions of dollars of daily liability. Davish Decl. ¶ 37. In light of those sanctions,

Merck will have no choice but to sign, even though it would not do so voluntarily. Nor

will Merck have any choice but to “accept” the dictated MFPs for its products—even

though Merck vigorously denies that those innovation-stifling prices, set through this

sham process, could be “fair.” Id. ¶ 45. Accordingly, Merck will be forced to provide

Medicare beneficiaries with “access” to its drugs at steep discounts. See id. ¶ 47.




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                                LEGAL STANDARD

      Federal Rule of Civil Procedure 56 directs that a “court shall grant summary

judgment” if there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a), (c). Where a case turns

on the application of constitutional law to undisputed facts, it is generally appropriate

for resolution on summary judgment. See, e.g., Am. Hosp. Ass’n v. Azar, 983 F.3d

528, 533, 542 (D.C. Cir. 2020). As to requests for declaratory relief, the Federal Rules

contemplate “speedy” adjudication. Fed. R. Civ. P. 57.

                                     ARGUMENT

      This Program is novel, but the constitutional principles it violates are

longstanding. Foremost, if the Government wants to take private property for public

use, it must pay for it—at fair market value. As the Supreme Court has made clear

in recent years, that means the Government cannot grant union organizers “access”

to real property, see Cedar Point Nursery v. Hassid, 141 S. Ct. 2063 (2021); nor can it

appropriate a share of a farmer’s crop to facilitate market stabilization, see Horne v.

Dep’t of Agric., 576 U.S. 351 (2015). By the same token, the Government cannot

requisition prescription drugs for the benefit of Medicare beneficiaries but pay only a

fraction of their fair value. It would be one thing for HHS to engage in genuine

negotiations over drug pricing. And of course it is up to the Government which drug

products it wants Medicare to cover. But if the Government wants to compel the

transfer of private pharmaceuticals for public benefit, it must pay their full value—

not unilaterally seize a massive discount for itself.




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      It is equally clear that the Government cannot compel businesses to convey

messages against their will. Compelled speech is a grave First Amendment harm,

forcing a public betrayal of one’s convictions while impairing the search for truth.

Accordingly, the Supreme Court has recently held that crisis pregnancy centers

cannot be forced to disseminate information contrary to their beliefs, see NIFLA v.

Becerra, 138 S. Ct. 2361 (2018); nor can public employees be compelled to subsidize

unions, see Janus v. Am. Fed’n of State, Cnty., & Mun. Employees, 138 S. Ct. 2448

(2018). The Program flouts these principles too, conscripting companies to carry the

Government’s political water by pretending to “agree” on a “fair” price. This theater,

designed to deceive the public, strikes at the First Amendment’s heart.

      A hypothetical could bring the point closer to home—literally. Imagine a

mayor who seeks to solve his city’s lack of affordable housing by forcing residents to

rent their basement apartments to low-income individuals at below-market rates.

Under this new program, a city-hall bureaucrat visits every home with a basement

unit and picks a rent he decides is “fair.” The homeowner must sign a contract

“agreeing” to provide “access” to that “fair” rent to any low-income person. Anyone

who declines to sign or refuses to rent is fined $1 million per day. And the only way

the homeowner can suspend that fine is to give up all rights to city water, sewer,

police, fire, and trash services. Such a scheme plainly would unconstitutionally take

property and compel speech, and impermissibly hold public benefits hostage to force

abandonment of those rights. So too here.




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I.         THE PROGRAM TAKES PROPERTY WITHOUT JUST COMPENSATION AND THUS
           VIOLATES THE FIFTH AMENDMENT.

           It is not hard to see how the Program effects takings without paying just

     compensation. Prescription drugs are property. Medicare beneficiaries want that

     property. But the Government—which has promised to pay for their drugs—has

     decided that its commitment is too costly. So it has devised a scheme to coerce

     manufacturers to transfer their property to Medicare beneficiaries at below-market

     prices. Yet arrogating a 50% discount is no different than appropriating 50% of a

     manufacturer’s inventory. This Court should thus declare that the Program effects

     uncompensated takings under the Fifth Amendment.

           A.    The Takings Clause Forbids Governmental Appropriation of
                 Personal Property Without Just Compensation.

           The Takings Clause provides: “[N]or shall private property be taken for public

     use, without just compensation.” U.S. Const., amend. V. This basic guarantee “bar[s]

     the Government from forcing some people alone to bear public burdens which, in all

     fairness and justice, should be borne by the public as a whole.” Armstrong v. United

     States, 364 U.S. 40, 49 (1960). The Clause thus imposes a “simple, per se rule: The

     government must pay for what it takes.” Cedar Point, 141 S. Ct. at 2071.

           It is settled that the Takings Clause protects personal property, not just real

     property. Indeed, the Framers adopted the Takings Clause in response to abusive

     requisitioning of crops and other personal property during the Revolutionary War.

     See J. Rubenfeld, Usings, 102 YALE L.J. 1077, 1122–23 (1993); 1 Blackstone’s

     Commentaries, Editor’s App. 305–06 (1803).




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      Consistent with that history, the Supreme Court has made clear the

Government “has a categorical duty to pay just compensation” when it “appropriate[s]

personal property.” Horne, 576 U.S. at 358. Such an appropriation—often called a

“classic” or per se taking—occurs when the Government forces someone to transfer

possession or title, whether to “itself or someone else.” Cedar Point, 141 S. Ct. at

2072. Either way, the owner loses the “rights to possess, use and dispose of” his

property. Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 435 (1982);

see also Stop the Beach Renourishment, Inc. v. Fla. Dep’t of Envtl. Protection, 560 U.S.

702, 713 (2010) (plurality op.) (explaining that a “classic taking is a transfer of

property to the [government] or to another private party”).

      The Court’s recent decision in Horne illustrates classic takings in the personal

property context. There, a statute directed farmers to “turn over a percentage of their

raisin crop without charge,” under pain of penalties, subject to the right to recover

some proceeds if the Government resold the raisins. 576 U.S. at 361–62. The Court

reiterated the “categorical duty to pay just compensation” whenever the Government

“appropriate[s] personal property.” Id. at 358. And because the statute caused title

to the raisins to pass from the farmers, the Court reasoned, a taking occurred. Id. at

361. In doing so, the Court rejected the argument that the potential proceeds from

the Government’s resales excused the taking. Id. at 363. Any payments would be

relevant only to the remedial question of what compensation was due; they would not

change that the raisins were appropriated in the first instance. Id. at 364.




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      For the same reason, dressing up an appropriation as a “sale” does not change

the analysis. For takings purposes, it does not matter how an appropriation “comes

garbed.” Cedar Point, 141 S. Ct. at 2072. If the Government uses legal sanctions to

compel a “sale” from A to B, a taking has occurred; the only question is whether the

dictated price satisfies just compensation. The Supreme Court has long recognized

this logic in the context of public utilities. See Duquesne Light Co. v. Barasch, 488

U.S. 299, 307–08 (1989). “Because utilities generally are compelled to employ their

property to provide services to the public, the Fifth Amendment requires” rates that

amount to just compensation. Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir. 1993).

And for personal property, “‘just compensation’” usually means “‘the market value of

the property at the time of the taking.’” Horne, 576 U.S. at 368–69. Only that remedy

puts the owner “in the same position monetarily as he would have occupied if his

property had not been taken.” United States v. Reynolds, 397 U.S. 14, 16 (1970).

      Importantly, forced transfers are distinct from price caps—which forbid sales

on certain terms but do not compel sales on any terms. For example, a rent-control

law that does not “compel[]” owners “to continue” renting would not be a taking, since

the owner has a “voluntar[y]” choice about how to use the property. Yee v. City of

Escondido, 503 U.S. 519, 527–28 (1992); see also Bowles v. Willingham, 321 U.S. 503,

517 (1944) (rent-control law had “no requirement that the apartments … be used for

the purposes which bring them under the Act”). By contrast, a forced sale leaves its

owner with no choice—and no property. That distinction—“between appropriation

and regulation”—makes all the difference. Horne, 576 U.S. at 362.




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      B.     The Program Appropriates Private Property Without Paying
             Just Compensation.

      The Program will requisition for public use the private property of the drug

manufacturers: their patented pharmaceuticals. And, by design, it will do so without

paying just compensation, instead paying only a fraction of a benchmark market

price. This is a transparent violation of the Takings Clause.

      1.     To start, there is no doubt that patented drugs like Merck’s Januvia,

Janumet, and Keytruda fully qualify as “property” protected by the Takings Clause.

Those drugs are personal property—just like raisins, cars, and removable building

fixtures. See Horne, 576 U.S. at 358; United States v. General Motors, 323 U.S. 373,

383–84 (1945).

      If anything, pharmaceuticals are doubly protected because they are also

patented. A patent “confer[s] upon the patentee an exclusive property in the patented

invention which cannot be appropriated or used by the government itself, without

just compensation.” Horne, 576 U.S. at 359 (quoting James v. Campbell, 104 U.S.

356, 358 (1882)); see also Hartford-Empire Co. v. United States, 323 U.S. 386, 415

(1945) (“That a patent is property, protected against appropriation by both

individuals and by government, has long been settled.”).        Indeed, that is why

Medicare could not just produce its own prescription drugs for its beneficiaries; it

must instead procure them from the manufacturers who hold the patents.

      2.     The IRA’s unique scheme of compelled “sales” will effect a classic taking

of the manufacturers’ personal property.




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      Under the Program, once HHS selects a drug for inclusion, its manufacturer is

coerced by the threat of enormous penalties to “agree” to “negotiate” a price for the

drug, and ultimately to “accept” the agency’s final MFP. See 26 U.S.C. § 5000D

(penalty for failure to agree to negotiate or to the MFP). Thereafter, under the IRA

and these coerced “agreements,” the manufacturer must provide “access” to its drug

at the MFP to Medicare beneficiaries and those who buy drugs on their behalf. 42

U.S.C. § 1320f–2(a)(3). That “access” requirement means that the manufacturer

must transfer its products to those third parties at the dictated price—it cannot

refuse to sell to them on those terms. That mandated “access” to the drug “requires

physical surrender of the [drugs] and transfer of title,” and the manufacturers “lose

any right to control their disposition.” Horne, 576 U.S. at 364. That makes this a

classic, per se taking. See id. at 362; Cedar Point, 141 S. Ct. at 2072.

      Unlike a price cap, the Program does not just forbid companies to charge above

the MFP if they “voluntarily” choose “to continue” selling to Medicare beneficiaries.

Yee, 503 U.S. at 527–28. Nor does it merely set maximum prices Medicare will pay

for drugs. Those schemes may have been “regulation,” not “appropriation,” Horne,

576 U.S. at 362—but would have left the Administration exposed to political backlash

if no deal was reached and drugs became unavailable through Medicare. To avoid

that risk, the Program mandates “access.” Cf. Cedar Point, 141 S. Ct. at 2072 (holding

that law granting union “access” to property was per se taking). Because the IRA

“compel[s] [manufacturers] to employ their property to provide [drugs] to the public,”

it triggers the duty to pay just compensation. Garelick, 987 F.2d at 916.




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      The fact that the Program mandates these transfers through an “agreement”

does not change the analysis, because the “agreement” is compelled by draconian

penalties. Penalties are, of course, a form of legal compulsion. See, e.g., Murdock v.

Pennsylvania, 319 U.S. 105, 113–14 (1943) (holding that taxes “for the enjoyment of

a right granted by the Federal Constitution” are “a restriction of the free exercise of

those freedoms”); Eastern Enters. v. Apfel, 524 U.S. 498, 529 (1998) (finding that Coal

Act effected taking where it used “severe penalty” to coerce monetary exactions);

Horne, 576 U.S. at 356 (demand for raisins enforced through penalties was a taking).

Indeed, if the Takings Clause could be circumvented by using penalties to coerce

owners to “agree” to forfeit their property, it would be utterly toothless.

      3.     Because the Program effects a taking, the Government must pay just

compensation: “fair market value.” Reynolds, 397 U.S. at 16. But the IRA is designed

to ensure that Medicare does not pay fair market value. Indeed, the law imposes a

ceiling price that, by definition, can be no greater than 40% to 75% of the average

price paid by non-federal purchasers in the market. 42 U.S.C. § 1320f–3(b)(2)(F),

(c)(1)(C). And HHS is free to demand even steeper discounts, with no prospect of

judicial review. Id. § 1320f–7. The Program is thus designed to mandate prices with

no relationship to fair market value. As a matter of law, this is not just compensation.

See Horne, 576 U.S. at 368–69; cf. General Motors, 323 U.S. at 385 (Douglas, J.,

concurring in part) (finding it “difficult to see” how “allow[ing] the Government to

oust a person from a portion of his leasehold, occupy the premises, but pay only a part

of the rent,” as opposed to “full” value, would provide just compensation).




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      And while the prescription drug market is notoriously complex, this case does

not require computing the fair market value of any particular drug.            That is a

remedial question beyond the scope of this facial challenge. See Horne, 576 U.S. at

364 (distinguishing these two questions). In this action, Merck seeks only declaratory

relief on its takings claim; because Merck does not seek damages for the Program’s

takings, there is no need to calculate precise market value—only to recognize the self-

evident point that the statute does not provide for anything resembling it.

      Ultimately, the Supreme Court’s decision in Horne controls this case. The

statute there, like the IRA, used penalties to coerce owners to turn over property

(there, raisins; here, prescription drugs), sacrificing possession and title. See 576 U.S.

at 362. As a result, in both cases the Government has “a categorical duty to pay just

compensation.” Id. at 358. The statute in Horne appropriated a percentage of a

farmer’s crop, whereas the Program here appropriates a manufacturer’s drugs for a

percentage of their value—but there is no meaningful distinction between those

seizures. Appropriating 50% of one’s inventory is materially identical, economically

and legally, to requisitioning that inventory at a 50% discount. Medicare’s partial

payments are thus relevant only to the calculation of damages, just like the partial

proceeds that the farmers stood to gain from the resale of their raisins. See id. at

364. In neither case do those partial payments vitiate the existence of a taking in the

first place. See id. This case is thus controlled by a “simple” rule: “The government

must pay for what it takes.” Cedar Point, 141 S. Ct. at 2071.




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      C.     Declaratory Relief Is Appropriate and Warranted.

      The Court should declare that the Program effects takings without providing

just compensation. The Declaratory Judgment Act permits declaratory relief when

“appropriate.”   28 U.S.C. § 2201.    Unlike litigants seeking an injunction, those

seeking declaratory relief need not show irreparable injury. See Steffel v. Thompson,

415 U.S. 452, 463 (1974). Rather, relief is appropriate if a declaration would “finally

settle the controversy between the parties”; promote “the convenience of the parties,”

especially relative to “other remedies” that may be available; and if the question is

one of “public importance.” Jackson v. Culinary Sch. of Washington, Ltd., 27 F.3d

573, 580 (D.C. Cir. 1994). All of those criteria are readily met here.

      First, a declaration would resolve the uncertainty over the Program’s legality

and, more specifically, whether it will trigger the Government’s obligation to pay

monetary compensation for its below-market seizures. The Supreme Court has long

recognized that parties may seek declaratory relief against threatened statutory

takings if the law does not provide “advance assurance of adequate compensation in

the event of a taking.” Duke Power Co. v. Carolina Envt’l Study Grp., 438 U.S. 59, 71

n.15 (1978); cf. Horne, 576 U.S. at 367–68 (holding that farmers did not have to pay

penalty, “then seek compensation”). The IRA is a perfect example: It contemplates

takings of property but suggests manufacturers will receive only partial payments.

Because the IRA therefore offers no “advance assurance of adequate compensation,”

declaratory relief is appropriate. Duke Power, 438 U.S. at 71 n.15.




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      Second, declaratory relief would promote convenience of the parties, especially

relative to an after-the-fact suit for compensation. Importantly, this dispute concerns

whether the IRA effects compensable takings at all. Leaving that issue unresolved

until after forced sales begin in 2026 creates untenable uncertainty: Merck needs to

know well in advance, as it plans its research and development, how the Program will

impact those ventures. See Davish Decl. ¶¶ 53–57. For the Government, too, it is

better to know now whether lower MFPs are simply going to boomerang back in the

form of eventual compensatory awards in the Court of Federal Claims.

      Again, Supreme Court authority is instructive. In Eastern Enterprises, the

Court considered the Coal Act, which required contributions to a miners’ benefit fund.

524 U.S. at 530. A controlling plurality reasoned that deferring the takings issue

until after-the-fact suits for damages would be “utterly pointless” given that “every

dollar paid” into the fund would “generate a dollar of … compensation” later. Id. at

521. Since “Congress could not have contemplated” that circularity, declaratory relief

was “appropriate.” Id. at 521–22. Likewise, leaving Merck to seek ex post monetary

relief—a dollar of damages for every dollar of discounts HHS snatches now—would

be “utterly pointless,” something “Congress could not have contemplated.” Id.

      Finally, the parties’ controversy is obviously extremely important as a policy

matter, and a declaration would serve the public interest by clarifying the legality of

the Program and the viability of the IRA’s plan to cut Medicare’s drug spending. If

the Program violates the Fifth Amendment, Congress should be informed sooner than

later so that it can consider constitutionally legitimate alternatives.




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            For all these reasons, declaratory relief is eminently appropriate here, both as

      a matter of common sense and under the D.C. Circuit’s prudential factors. See T.

      Merrill, Anticipatory Remedies for Takings, 128 HARV. L. REV. 1630, 1666–74 (2015)

      (explaining why declaratory relief is appropriate in takings cases where dispute is

      whether taking occurred, as opposed to amount of compensation). This Court should

      therefore declare that the Program’s forced sales effect compensable takings.

II.         THE PROGRAM COMPELS MANUFACTURERS TO ENDORSE POLITICAL
            MESSAGES AND THUS VIOLATES THE FIRST AMENDMENT.

            Aside from its infringement on drug manufacturers’ property rights, the

      Program violates their speech rights by conscripting them to engage in performative

      “negotiations” and sign Soviet-style “agreements” to help the Government obscure

      the reality of this new regime. That is, even assuming the Government could compel

      manufacturers to sell their drugs at a discount, Congress could have engineered that

      economic objective far more directly by authorizing HHS to impose prices for covered

      drugs and mandating that manufacturers provide “access” to Medicare beneficiaries

      at those prices. Instead, Congress laundered these mandates through “agreements”

      that companies must enter on pain of enormous penalties. The sole apparent purpose

      of that roundabout regulation is to make it appear as if the manufacturers have

      acknowledged, through voluntary “negotiation,” that HHS’s prices are “fair,” thereby

      boosting the Government’s political narrative. But, under the First Amendment, a

      company cannot be dragooned into service as a political mouthpiece. The Program’s

      scheme of coerced “agreements” is designed to do exactly that. This Court should

      therefore enjoin the Government from enforcing it.



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      A.     The First Amendment Forbids the Government To Conscript
             Others To Convey Its Political Messages.

      “[T]he First Amendment guarantees ‘freedom of speech,’ a term necessarily

comprising the decision of both what to say and what not to say.” Riley v. Nat’l Fed’n

of the Blind, 487 U.S. 781, 796–97 (1988). The Government thus can neither “prohibit

the dissemination of ideas that it disfavors, nor compel the endorsement of ideas that

it approves.” Knox v. SEIU, 567 U.S. 298, 309 (2012). The latter is the foundation of

the compelled speech doctrine: The Government “may not compel affirmance of a

belief with which the speaker disagrees.” Hurley v. Irish-American Gay, Lesbian &

Bisexual Grp. of Boston, Inc., 515 U.S. 557, 573 (1995). The Supreme Court reiterated

just this past Term that the Government cannot “force” a person to engage in “speech

she does not believe or endorse.” 303 Creative LLC v. Elenis, No. 21-476, 2023 WL

4277208, at *6 (U.S. June 30, 2023).

      That doctrine serves at least two crucial purposes. First, it protects citizens

from being forced to betray their convictions. “At the heart of the First Amendment

lies the principle that each person should decide for himself or herself the ideas and

beliefs deserving of expression, consideration, and adherence.” Turner Broad. Sys.,

Inc. v. FCC, 512 U.S. 622, 641 (1994). Indeed, its “very purpose … is to foreclose

public authority from assuming a guardianship of the public mind.” Thomas v.

Collins, 323 U.S. 516, 545 (1945) (Jackson, J., concurring); accord Wooley v. Maynard,

430 U.S. 705, 714 (1977). When the Government compels a person to spread a

message he rejects, it “invades the sphere of intellect and spirit” that must lie beyond

“official control.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).



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Such coercion is anathema to a “political system” built on free expression, Turner,

512 U.S. at 641, in which all enjoy the “right to present their message undiluted by

views they d[o] not share,” 303 Creative, 2023 WL 4277208, at *7.

       Second, the compelled speech doctrine ensures an “open marketplace in which

differing ideas about political, economic, and social issues can compete freely for

public acceptance without improper government interference.” Knox, 567 U.S. at 309.

“[F]reedom of thought and speech is ‘indispensable to the discovery and spread of

political truth.’” 303 Creative, 2023 WL 4277208, at *7. But when Congress “requires

the utterance of a particular message favored by the Government,” it “manipulate[s]

the public debate through coercion rather than persuasion.” Turner, 512 U.S. at 641.

This corrupts “the processes through which political discourse or public opinion is

formed.” Expressions Hair Design v. Schneiderman, 581 U.S. 37, 49 (2017) (Breyer,

J., concurring).   To prevent that distortion, the Supreme Court has held that no

speaker can be forced to feign “agree[ment] with the Government’s polic[ies].” Agency

for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 213 (2013).

       Compelled speech doctrine equally protects businesses. “For corporations as

for individuals, the choice to speak includes within it the choice of what not to say.”

Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 16 (1986) (plurality op.). And

letting the Government commandeer the voices of businesses to parrot one side of a

debate short-circuits the truth-seeking process that the First Amendment is designed

to safeguard. The Government thus cannot make a company, any more than an

individual, a “vehicle for spreading a message with which it disagrees.” Id. at 17; see,




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e.g., United States v. United Foods, Inc., 533 U.S. 405, 411 (2001) (mushroom growers

could not be forced to promote the general sale of all mushrooms). After all, “the First

Amendment extends to all persons … including those who seek profit,” and speakers

do not “shed their First Amendment protections by employing the corporate form.”

303 Creative, 2023 WL 4277208, at *12, 15. Thus, the Government may not “compel

speakers”—regardless of their identity—“to utter or distribute speech bearing a

particular message.” Turner, 512 U.S. at 642.

      If a statute does mandate speech, courts subject it to heightened scrutiny.

“Laws that compel speakers to utter or distribute speech bearing a particular

message are subject to the same rigorous scrutiny” as those that “suppress” speech

based on its content—i.e., strict scrutiny. See id.; see also Riley, 487 U.S. at 797–98,

800. Under that standard, the challenged law must be “narrowly tailored” to achieve

a “compelling” government interest. Pac. Gas, 475 U.S. at 19 (plurality op.). In cases

involving some purely factual and uncontroversial commercial disclosures, the

Supreme Court has endorsed a slightly relaxed level of scrutiny. See, e.g., Zauderer

v. Off. of Disciplinary Couns. of Supreme Ct. of Ohio, 471 U.S. 626, 651 (1985); see

also NIFLA, 138 S. Ct. at 2372, 2377–78. Even under that intermediate standard,

however, the government interest must be “substantial” and the challenged provision

must be “drawn to achieve” it. Sorrell v. IMS Health Inc., 564 U.S. 552, 572 (2011);

see also Am. Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d 18, 34 (D.C. Cir. 2014) (en

banc) (Kavanaugh, J., concurring) (observing that this “stringent” test “tightly limits

mandatory disclosures to a very narrow class”).




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      B.     The Program Forces Manufacturers To Express “Agreement”
             with HHS’s Prices and To Endorse Their “Fairness.”

      The Program violates the First Amendment by forcing manufacturers to peddle

the Government’s messages on pain of astronomical penalties.          Specifically, the

Program compels manufacturers to sign on the dotted line—literally—and thereby to

convey their public “agreement” to HHS’s negotiations and to the “fairness” of HHS’s

price. The sole purpose of forcing manufacturers to “agree” to those mandates—as

opposed to just imposing them directly—is to construct a charade of consensus. But

deceiving the public for political gain is a fundamentally illegitimate goal.

      1.     The Government cannot “coerc[e]” speech using “threat of punishment,”

including “monetary fines.” 303 Creative, 2023 WL 4277208, at *9. That is what this

Program does: compel expression by punishing those who refuse to “agree” with HHS.

First, manufacturers must “enter into” an “agreement” with HHS, 42 U.S.C. § 1320f–

2(a), pledging to “negotiate” toward a “maximum fair price” for its drugs, Template

Agreement at 1. CMS will publicize that “agreement.” See CMS Revised Guidance

120. Second, at the culmination of the “negotiation,” the manufacturers must “agree

to” whatever final “fair price” HHS offers, 42 U.S.C. § 1320f–2(a)(1), by executing a

“Negotiated Maximum Fair Price Addendum,” Template Agreement at 7.                 The

substance of that “agreement,” too, will be published for public consumption. See 42

U.S.C. § 1320f–4(a); CMS Revised Guidance 162–63. Yet both “agreements” are

legally coerced by threat of sanctions. If the manufacturer does not enter them by

the statutory deadlines, every subsequent day counts as a “noncompliance” period

and triggers an enormous penalty. 26 U.S.C. § 5000D.



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      By signing the agreements, a manufacturer necessarily communicates several

messages to the public: (1) its willingness to enter bona fide negotiations; (2) that

voluntary negotiations will culminate in an agreed price; and (3) that the final HHS

price is “fair.” The Template Agreement released by CMS makes all that abundantly

clear. It is entitled “Medicare Drug Price Negotiation Agreement,” at once conveying

both that the manufacturer is participating in a “negotiation” and that the parties

reached an “agreement.” Template Agreement at 1. Its opening clauses then recite

that the parties will “negotiate to determine a price,” and that the manufacturer

contemplates reaching “agreement with CMS.” Id. The contract goes on to use the

terms “agree,” “agreement,” and “maximum fair price” literally dozens of times across

a mere five pages. See id. at 1–5. The Addendum, too, is styled as a “Negotiated

Maximum Fair Price Addendum,” signaling that the parties “negotiated” to a price

they agree is the “maximum fair” one, and repeats that the parties indeed “engaged

in negotiation” and “agree” to the HHS-dictated price. Id. at 7.

      Yet Merck does not “agree” that the Program involves true “negotiation”; by

design, Merck will have zero leverage in these sham proceedings. Nor does Merck

“agree” that its participation in the Program is voluntary; instead, its participation

will be coerced by the threat of massive penalties. Most importantly, Merck rejects

the view, embedded in the “agreements,” that HHS’s dictated-and-discounted price

will be the “maximum fair price” for its products. Merck instead believes that HHS’s

discounted prices will harm the public by undermining and skewing the incentives

for development of new life-saving drugs. See Davish Decl. ¶ 38.




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      Recognizing the First Amendment harms, CMS has recently tried to mitigate

them through a disingenuous disclaimer: one that claims the agreement does not

reflect an “endorsement of CMS’ views” and that signing on the dotted line should not

be taken as agreement that “fair” means “fair” in the “colloquial” sense. Template

Agreement at 4. In other words, the agreement should not be understood to mean

what it would plainly mean to any ordinary reader. Rather, Merck is supposedly only

agreeing on a “maximum fair price” as those words are “specified in the statute.” Id.

      The need to add that disclaimer only confirms that the contract does suggest

an endorsement of CMS’s views and imply the “colloquial meaning” of “fair.” Id. The

disclaimer is thus ineffective, as it purports to deny what the rest of the contract

clearly says. In any event, adding a “disclaimer … does not suffice” to cure the First

Amendment problem, because the Government cannot “require speakers to affirm in

one breath that which they deny in the next.” Pac. Gas, 475 U.S. at 15 n.11 & 16

(plurality op.). The Government could not compel students to salute the flag so long

as they incant afterwards that “this salute should not be misunderstood as a symbol

of patriotism.” Cf. Barnette, 319 U.S. at 642. It could not force drivers to display a

“Live Free or Die” license plate so long as fine print clarifies “this motto does not

reflect the views of the driver.” Cf. Wooley, 430 U.S. at 714; id. at 722 (Rehnquist, J.,

dissenting) (arguing that drivers could “disavow the motto” through a “conspicuous

bumper sticker”). And it could not compel public employees to subsidize unions

simply by pronouncing that such fees are not to be understood as an “endorsement”

of the union’s views. Cf. Knox, 567 U.S. at 309.




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         In all those cases, the compelled speech unavoidably conveyed a message, and

the Government would not be free to compel that message merely by purporting to

deny it or by allowing the speaker to disassociate from it. “So too would a disclaimer

here be inadequate.” Telescope Media Grp. v. Lucero, 936 F.3d 740, 757 (8th Cir.

2019).    By forcing manufacturers to sign agreements committing to “negotiate,”

purporting to “agree,” and conveying that HHS’s prices are the “maximum fair” ones,

the IRA compels the manufacturers to speak and to acquiesce in views they dispute.

Based on those agreements, the Administration will be able to continue to mislead

the public about the Program. To be sure, thanks to CMS’s (post-lawsuit) tweak,

manufacturers are now able to issue responsive press releases citing technical terms

in subsection IV(f) of the “Medicare Drug Price Negotiation Agreement.” But that is

cold comfort—and constitutionally irrelevant. By then, the First Amendment harm

will already have been done: Merck’s “own message” will have been “affected by the

speech it was forced to accommodate.” Rumsfeld v. FAIR, 547 U.S. 47, 63 (2006); see

also Circle Sch. v. Pappert, 381 F.3d 172, 182 (3d Cir. 2004) (reiterating that “general

disclaimer … does not erase the First Amendment infringement” because “the schools

are still compelled to speak the Commonwealth’s message”).

         Of course, many ordinary contracts do not express views or convey beliefs—

they are promises to act, not professions of principle. But some transactions can be

expressive, as any boycotter knows. In New Hope Family Services, Inc. v. Poole, for

example, the Second Circuit recognized that forcing an adoption agency to “approve

an adoption” for a same-sex couple could convey the message that the agency believes




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that placement promotes “the best interests of the child”—a view “with which [the

agency] does not agree.” 966 F.3d 145, 177–78 (2d Cir. 2020). Here, the problem is

even clearer than in New Hope, because the IRA forces the manufacturer not merely

to transact (and thus imply agreement), but actually to “agree” in writing to the

Program’s core, disputed value judgment—that HHS’s below-market dictated price is

“fair,” and indeed the “maximum fair price.”

      And, importantly, the misimpression of manufacturer endorsement is not a

bug in the Program, but rather a primary feature. Again, it would have been easy

enough for Congress to authorize HHS to set maximum prices for covered drugs, as

Congress has long done in rate-setting contexts. And Congress could have directly

ordered manufacturers to provide “access” at those prices (although that would have

been a taking for the reasons explained above). Yet, instead, the IRA obscures the

agency’s price-setting and forced sales by running everything through the façade of

“agreements,” to make it appear to be the product of voluntary negotiation rather

than top-down control. The goal is to fabricate the image of a “fair” process—like

when a regime forces political prisoners to accept responsibility at show trials before

they are shipped to the gulag. “Look—even they agree this is fair!”

      In sum, “the ‘very purpose’” of the IRA’s sham negotiation process is “to force”

a manufacturer “to convey a message [it] does not believe.” 303 Creative, 2023 WL

4277208, at *13. It thus goes far beyond what is “typical” for economic regulation, by

“regulating the communication of prices rather than prices themselves.” Expressions

Hair, 581 U.S. at 47–48 (emphasis added). That offends the First Amendment.




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      2.     By coercing manufacturers to express the Government’s message, the

Program also violates both bedrock purposes of the compelled speech doctrine.

      First, by forcing manufacturers to “agree” with HHS on a “fair price,” the IRA

compels businesses to parrot political messages inimical to their own views. Again,

Merck does not “agree” that forced sales at innovation-stifling discounted prices are

“fair” to anyone—including patients. Nor does it believe prices negotiated without

HHS intervention are unfair. To the contrary, Merck understands that its products

must be priced to incentivize and support the incredibly costly process of researching,

developing, and securing FDA approval for life-saving medicines, especially given

that most of those enormous investments never result in marketable (let alone

profitable) products. See Davish Decl. ¶¶ 38, 45, 53.

      Nevertheless, the Program forces Merck to peddle the counternarrative: that,

absent the IRA’s “negotiations,” Merck would charge more than the “maximum fair

price.” Such coercion is antithetical to the First Amendment, under which businesses

cannot be “made into involuntary solicitors for their ide[o]logical opponents.” Cent.

Illinois Light Co. v. Citizens Util. Bd., 827 F.2d 1169, 1173 (7th Cir. 1987); see also

Pac. Gas, 475 U.S. at 16 (plurality op.). This forced self-abnegation betrays the First

Amendment’s basic guarantee of “freedom of mind.” Wooley, 430 U.S. at 714. After

all, “Thomas More went to the scaffold rather than sign a little paper for the King.”

E. Texas Baptist Univ. v. Burwell, 807 F.3d 630, 635 (5th Cir. 2015) (Jones, J.,

dissenting from denial of rehearing en banc).




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      Second, the IRA’s contrived “negotiated agreements” distort public debate. By

forcing its targets to portray themselves as willing participants, the IRA intensifies—

and insulates from criticism—the position that HHS’s prices are “fair” and have been

“agree[d] to” by all involved. 42 U.S.C. § 1320f–2(a)(1). Although the Government is

entitled to persuade the public that prices would be “unfair” if not for the IRA, it

cannot compel companies to feign agreement.

      CMS exposed the Government’s speech-distorting objectives when, in its initial

guidance document, it announced a gag order over the “negotiations”: Manufacturers

would be forbidden (by “agreement,” of course) to “disclose to the public” anything

about the back-and-forth, the HHS ceiling price, the agency’s justification for its

offers, or “any information exchanged verbally.” CMS Initial Memo 30. That gag

order highlighted the statute’s violation of the First Amendment, by confirming the

Government’s goal of limiting the information in the public domain to the misleading

“agreements.”

      Confronted with a wave of lawsuits, CMS backtracked; it now says companies

“may choose to publicly disclose information regarding its ongoing negotiations.”

CMS Revised Guidance 124. Still, relaxing the gag order does not cure the compelled

speech problem, any more than a contractual disclaimer does. See supra at pp. 28-

29. By forcing manufacturers to combat the misimpression of acquiescence, the IRA

burdens their participation in the marketplace of ideas. “That kind of forced response

is antithetical to the free discussion that the First Amendment seeks to foster.” Pac.

Gas, 475 U.S. at 16 (plurality op.).




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      3.     Because the IRA “compel[s]” manufacturers “to express certain views,”

it merits strict scrutiny. R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205, 1211 (D.C.

Cir. 2012). But the IRA cannot survive any heightened scrutiny. Its speech burdens

do not advance any legitimate (much less substantial or compelling) interest. They

serve only to deceive the public in furtherance of a political agenda.

      Setting aside the Takings Clause problem, Congress could have achieved the

IRA’s economic aims by simply empowering HHS to impose prices for covered drugs.

There was no need for performative “negotiations” or “agreements.”           Enlisting

manufacturers in the Government’s deceptive messaging campaign does nothing to

reduce drug prices, foster innovation, or guard the public fisc. But what it does add

is cover at the polls. Evidently, Congress saw political benefit to concealing top-down

price controls and mandates—interventions often associated with rationing and

shortages in centrally planned economies. Indeed, one recent poll found widespread

support for allowing Medicare to negotiate drug prices—but support plummeted by

over 30% when respondents were asked about a regime that “effectively allow[s] the

federal government to set the prices of drugs.” See National Tracking Poll, Morning

Consult at 13, 17 (Sept. 2021). Obscuring the IRA’s price-setting mandates beneath

a conceit of “agreements” thus made it easier to force this Program through a closely-

divided Senate and to sell it to the American people.

      That may be a good political explanation, but it is hardly a legal justification.

Indeed, if political deception could justify forced expression, the First Amendment

would be meaningless. The Program plainly fails heightened scrutiny.




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      C.     Injunctive Relief Is Appropriate and Warranted.

      The proper remedy for the Program’s unconstitutional compelled speech is an

injunction. “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976) (plurality op.). As a result, injunctive relief is warranted whenever “First

Amendment interests [are] either threatened or in fact being impaired.” Id.

      The equities and public interest point in the same direction. The Government

has no legitimate justification for forcing speech. But the public has everything to

lose from the systematic manipulation of the marketplace of ideas. This is why the

Supreme Court regularly upholds injunctive relief in compelled speech cases. See,

e.g., NIFLA, 138 S. Ct. at 2370 (reversing denial of preliminary injunction); Riley, 487

U.S. at 787, 803 (affirming grant of injunctive relief); Wooley, 430 U.S. at 712, 717

(same).

      Accordingly, this Court should declare that the Program’s requirements to

“agree” to negotiate and to accept “maximum fair prices” are unconstitutional, and

enjoin their enforcement. In particular, it should enjoin Defendants from forcing

Merck to sign an initial “manufacturer agreement,” 42 U.S.C. § 1320f–2(a), and to

“agree to” the “maximum fair price” developed through the Program, see id. § 1320f–

2(a)(1), (a)(2). And if the timing of the Court’s adjudication is such that Merck has

already been compelled to enter one or both of those agreements, the Court should

declare those agreements void and enjoin Defendants from enforcing their terms.




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III.         MERCK DID NOT VOLUNTARILY SUBMIT TO THE PROGRAM’S DEMANDS BY
             PARTICIPATING IN MEDICARE AND MEDICAID.

             The Program’s constitutional offenses cannot be excused by pretending Merck

       voluntarily submitted to the IRA’s demands—and thus forfeited its constitutional

       rights—by accepting Medicare or Medicaid coverage for its products. That theory is

       wrong on multiple levels. There is nothing “voluntary” about being told that you can

       “choose” between complying with Government orders on pain of enormous penalties,

       or committing economic suicide by permanently cutting off almost half of all patients

       who rely on your products. That is a quintessential unconstitutional condition.

             Of course, the Government can use its authority under the Spending Clause,

       see U.S. Const. Art. I, § 8, to attach certain conditions to public benefits, including

       Medicare payments. But the “conditions” framing is not a blank check, and it cannot

       rescue the Program’s intrusion on property and speech rights here.

             At the outset, the Program does not take the form of a typical “condition” at

       all. When Congress puts conditions on federal funds, it explicitly ties its demands to

       receipt of the funds. E.g., 42 U.S.C. § 2000d (prohibiting race discrimination in any

       “program or activity receiving Federal financial assistance”); 29 U.S.C. § 794(a) (same

       for disability discrimination); 42 U.S.C. § 300a–6 (“None of the funds appropriated

       under this subchapter shall be used in programs where abortion is a method of family

       planning.”). These statutes employ conditional language of contracts, not mandatory

       language of regulation. See Cummings v. Premier Rehab Keller, PLLC, 142 S. Ct.

       1562, 1570 (2022) (contrasting “ordinary legislation,” which imposes “involuntar[y]”

       mandates, and “Spending Clause legislation,” which “operates based on consent”).



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      By contrast, nothing in the IRA expressly limits the Program’s demands to

current recipients of federal funds; it applies to manufacturers of any drugs that HHS

selects. See 42 U.S.C. § 1320f(a). Nor does the IRA suggest the manufacturers have

any option. Its obligations are phrased as actions that a manufacturer “shall” take.

See, e.g., id. § 1320f–3(a) (manufacturer “shall … negotiate a maximum fair price”);

id. § 1320f–2(a)(3) (“access to the maximum fair price … shall be provided”)

(emphases added). Of course, it is “generally clear that ‘shall’ imposes a mandatory

duty.” Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 172 (2016). And,

proving the point, the Program enforces compliance not by withholding Medicare

reimbursements (as in other Medicare provisions, e.g., 42 U.S.C. § 1396r–8(a)), but

by levying vast penalties for every day of “noncompliance.” 26 U.S.C. § 5000D.

      Indeed, a manufacturer’s relationship with Medicare and Medicaid only enters

the equation on the back end: The IRA “suspends” its penalty for days when “none of

the drugs of the manufacturer” are covered by agreements that are prerequisites to

coverage. Id. § 5000D(c)(1). In other words, to avoid the Program’s mandates and

penalties, a manufacturer must wholesale abandon its access to nearly half of the

U.S. prescription drug market, implicating tens of millions of patients.

      In any case, characterizing that as a “condition” cannot save the Program. It

is common for the Government to try to justify constitutional violations by framing

them as “conditions.” It tried that in Horne, arguing that the raisin appropriation

amounted to a “condition” on “a Government benefit,” and that farmers could avoid

the raisin appropriations simply “by ‘planting different crops.’” 576 U.S. at 357. It




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tried again in Cedar Point, arguing that the Government may “require property

owners to cede a right of access as a condition of receiving certain benefits.” 141 S.

Ct. at 2079. Likewise, it defended the speech compulsion in Agency for International

Development as “a condition on the receipt of federal funds.” 570 U.S. at 213. In all

of those cases, however, the Supreme Court rejected the defense. See Horne, 576 U.S.

at 366 (denying that raisin appropriation can “reasonably be characterized as part of

a … voluntary exchange”); Cedar Point, 141 S. Ct. at 2080 (holding that union access

rule was not “germane” to any public benefit); Agency for Int’l Dev., 570 U.S. at 218–

19 (condition cannot be used to require “recipients to profess a specific belief”). Here

too, the IRA’s “offer”—do what the Government says, or lose access to half of your

market—is unconstitutional under at least two lines of Supreme Court precedent.

      A.     The IRA’s “Choice” Is Coercive, Not Voluntary.

      The Spending Clause is among the Federal Government’s most consequential

powers. Each year, it provides trillions of dollars to both public and private entities.

See Nat’l Fed’n of Indep. Bus. v. Sebelius (NFIB), 567 U.S. 519, 674 (2012) (joint

dissent). Congress “customarily attaches conditions” to the receipt of those payments,

id. at 675, which gives the Government some leeway to regulate where it would

otherwise lack Article I authority. See, e.g., United States v. Butler, 297 U.S. 1, 66

(1936). This is a context where the greater power cannot include the lesser power,

however—just because the Government need not provide a benefit does not mean it

may hinge the benefit on a recipient’s waiver of constitutional rights. Otherwise, the

Spending Clause would swallow the rest of the Constitution.




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      To avoid that self-defeating notion, the Supreme Court has long made clear

that Spending Clause regulation is legitimate only because—and only when—the

recipients of the federal funds “voluntarily … accept” Congress’s “terms.” Pennhurst

State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981). Because such regulation is

akin to “a contract,” its terms must be “voluntarily” accepted. Cummings, 142 S. Ct.

at 1570. In short, this is regulation by consent—but when “persuasion gives way to

coercion,” Congress’s authority runs out. NFIB, 567 U.S. at 585. As such, conditional

regulation is permissible only if Congress offers a genuine choice that a recipient can

voluntarily accept—not merely a choice “between the rock and the whirlpool.” Frost

& Frost Trucking Co. v. R.R. Comm’n, 271 U.S. 583, 593 (1926). The choice cannot

be “illusory,” Butler, 297 U.S. at 71, and must exist “not merely in theory but in fact,”

NFIB, 567 U.S. at 581. The IRA readily fails that standard.

      1.     The Supreme Court recently held that a federal funding condition was

unconstitutionally coercive in circumstances that closely parallel this case. In NFIB,

the Court ruled that Congress could not force a State to expand Medicaid coverage by

“threatening to withhold all of [its] Medicaid grants.” 567 U.S. at 575. NFIB cited

three features of that condition that rendered it unconstitutional.

      First, instead of merely withholding “new funds” from States that do not accept

those “new conditions,” id. at 579, Congress “threaten[ed] to withhold … existing

Medicaid funds,” which was a signal that the Government was using its power over

those existing benefits as a “means of pressuring” recipients. Id. at 575–76, 580

(emphasis added). Second, that pressure was unconstitutionally coercive—a “gun to




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the head”—by virtue of its sheer size: It threatened about 10% of a State’s budget.

Id. at 581–82.    Third, by imposing on the Medicaid bargain “post-acceptance

retroactive conditions” that States “could hardly [have] anticipate[d],” Congress

upended reliance interests that had developed after “many decades” of integration

with Medicaid’s structure and funding stream. Id. at 581, 583–84.

      In short, the Affordable Care Act attempted to leverage large, pre-existing

funding streams on which States had relied and which they could not afford to lose,

to pressure States to take additional actions beyond the scope of the original Medicaid

bargain. The Court squarely rejected that maneuver. Even though Congress was

under no obligation to maintain the Medicaid program, it could not use that leverage

to coerce States to abandon their Tenth Amendment rights.

      Insofar as the IRA conditions Medicare and Medicaid coverage on submission

to the Program, it parallels NFIB to a tee. First, just as Congress targeted all of a

State’s existing Medicaid funding to induce agreement to new conditions, the IRA

targets existing coverage for all of a manufacturer’s drugs on its abandonment of

rights regarding one distinct product. In other words, rather than withhold payments

for a particular drug absent agreement on that drug’s price, Congress “threaten[ed]

to terminate other significant independent grants.” Id. at 580. That is “properly

viewed as a means of pressuring” companies to hand over property and propagate a

political agenda. Id. And, as in NFIB, the fact that Congress “‘styled’” the IRA’s

Program as part of Medicare cannot obscure its leveraging of a longstanding funding

source to coerce compliance with a radical new program. Id. at 582.




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      Second, if Congress’s threat to cut off 10% of a State’s budget was a “gun to the

head,” id. at 581, the IRA aims a veritable bazooka at the American pharmaceutical

industry by threatening access to half of the prescription drug market. See Sanofi

Aventis, 58 F.4th at 699 (noting that Government “pays for almost half the annual

nationwide spending on prescription drugs”). Congress knew it would be economic

suicide for any manufacturer to withdraw from these programs. That renders any

“asserted power of choice … illusory.” Butler, 297 U.S. at 71. The IRA’s choice is

“between the rock and the whirlpool,” Frost, 271 U.S. at 593, and upholding it would

flout the Court’s insistence that funding recipients are entitled to a choice “not merely

in theory but in fact,” NFIB, 567 U.S. at 581.

      Third, just as the Affordable Care Act “surpris[ed]” States by imposing new,

“post-acceptance conditions” that “transformed” the nature of the Medicaid program

they had entered “decades” earlier, NFIB, 567 U.S. at 581, 583–84, the IRA executes

a bait-and-switch on drug manufacturers. Indeed, the IRA’s ambush is even more

egregious than the one rejected in NFIB. While Congress had expressly warned from

the outset that it could “alter, amend, or repeal” any part of Medicaid, the Court held

that did not suffice to put the States on notice of the “transformation” wrought by the

later statute. Id. at 581. Meanwhile, Congress built into Medicare Part D an express

promise to “not interfere” in manufacturers’ pricing negotiations with plan sponsors,

42 U.S.C. § 1395w–111(i)(1) (emphasis added). Yet the Program goes far beyond

interference with private pricing arrangements—for the most successful drugs, it

supplants them with forced sales at prices imposed by HHS fiat.




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      Again, Spending Clause statutes are akin to contracts. Cummings, 142 S. Ct.

at 1570. And contract law forbids a party to use power secured through the contract

to extort a modification of its terms. E.g., Alaska Packers’ Ass’n v. Domenico, 117 F.

99, 102 (9th Cir. 1902) (vessel’s crew demanded higher wages only after leaving

shore). That is the same dynamic created when funding recipients “build up reliance

and dependence” and are then subject to “predatory leverage” when new conditions

are imposed on the funding stream. J. Blumstein, Enforcing Limits on the Affordable

Care Act’s Mandated Medicaid Expansion: The Coercion Principle and the Clear

Notice Rule, 2012 CATO SUP. CT. REV. 67, 74. And that is precisely what is going on

here: Having used promises of market pricing to attract manufacturers and amass

control over the prescription drug market, the Government now wants to use that

control as the leverage to enable rescission of its original promises.

      To be clear, the point is not that Medicare’s pricing rules are forever frozen or

impervious to amendment—just as the takeaway from NFIB is not that Congress

could never repeal Medicaid. Rather, the point is that if Congress uses the reliance

created by its own funding promises as a cudgel to induce “agreement” to new terms

or conditions, that—together with the nature and size of the threat—is a strong

indicator that Congress has crossed the line to unconstitutional coercion.

      The Affordable Care Act—by cross-leveraging benefits, targeting a massive

chunk of States’ budgets, and imposing unforeseen conditions—coerced States to

abandon their prerogatives under the Tenth Amendment. NFIB, 567 U.S. at 577–78.

Meanwhile, the IRA coerces private actors to forfeit their rights under the First and




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Fifth Amendments. But the mechanism—what makes the “offer” unconstitutional—

is exactly the same, regardless of the substantive rights at issue. Private entities, no

less than the States, can be subject to “‘economic dragooning’ and a ‘gun to the head’”

when the Government threatens the “ruinous” “loss of federal funds.” Doe v. Univ. of

Scis., 961 F.3d 203, 213 (3d Cir. 2020) (quoting NFIB, 567 U.S. at 581–82); see also

M. Berman, Coercion, Compulsion, and the Medicaid Expansion: A Study in the

Doctrine of Unconstitutional Conditions, 91 TEX. L. REV. 1283, 1316 (2013)

(explaining that funding offers to states and “offers of benefits conditioned on the

waiver of individual rights” raise same constitutional dilemma). Indeed, if anything,

protection for private recipients must be more robust for they, unlike States, lack the

“political powers” and “institutional resources” to resist federal encroachment.

Koslow v. Pennsylvania, 302 F.3d 161, 174 (3d Cir. 2002).

      2.     Nor did Congress intend to offer manufacturers any “voluntary” choice.

As noted, Congress projected that the “tax” penalty would raise no revenue because

it knew no company could pay it. See supra at p. 8. And even the unrealistic option

of withdrawing from Medicare and Medicaid was designed to be “illusory,” Butler,

297 U.S. at 71. While the penalty can be suspended if none of a manufacturer’s

products is covered by a Medicare or Medicaid agreement, the IRA also provides that

the manufacturer cannot effectuate such a termination without giving notice at least

11 and as much as 23 months in advance. 42 U.S.C. § 1395w–114a(b)(4)(B)(ii). So by

the time a manufacturer is confronted with a particular price offer for a particular

drug, the opportunity to make the supposed “choice” has long since expired.




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      Indeed, working backwards, the only way Merck could have extricated all of

its products from Medicare by October 1, 2023—the first deadline by which it must

“agree” or face daily penalties—would have been to give notice of intent to terminate

by January 31, 2022. That was months before the IRA was even enacted, and more

than a year before it became possible to predict that Merck would be subject to the

Program. Accordingly, by the time the IRA became law, and certainly by the time

the Government’s cross-hairs focused on any targets, it was already too late for Merck

to take any steps to escape the Program, as Congress designed it.

      In response to litigation, CMS purported to develop an administrative “fix.”

The statute requires manufacturers to provide up to 23 months’ notice to withdraw,

but entitles CMS to terminate a manufacturer for “willful violation … or other good

cause” in 30 days, after providing a “hearing.” 42 U.S.C. § 1395w–114a(b)(4)(B)(i).

CMS now claims it can exercise that power to help any manufacturer who wishes to

avoid the Program without waiting the 11–23 months that Congress required. CMS

Revised Guidance 120–21, 130–31. That is a highly dubious assertion of authority.

In providing for the agency to terminate a manufacturer on its request, CMS has

conflated two distinct statutory pathways—one for termination “[b]y the Secretary,”

the other for termination “[b]y a manufacturer.” 42 U.S.C. § 1395w–114a(b)(4)(B).

And in reading “good cause” to include a manufacturer’s desire to avoid the Program,

CMS flouts the canon of construction requiring that term to be understood in light of

“the neighboring words with which it is associated,” United States v. Williams, 553

U.S. 285, 294 (2008)—which here relate to manufacturer misconduct.




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      More importantly, whether valid or not, that agency end-run only confirms that

Congress never intended to give manufacturers a genuine choice; if it had, CMS would

not be scrambling to respond to lawsuits by rewriting the statute to allow for an exit

option that the IRA’s text puts beyond reach. And that underscores the critical point:

In enacting this novel scheme, Congress was imposing mandates, not offering a “deal”

that could be “voluntarily” accepted. Much like the Program itself, this would-be

defense posits a genuine contract where none exists.

      B.     Threatening Merck’s Access to Half the U.S. Drug Market To
             Compel Sales and Speech Is Unconstitutional.

      Taking a step back, NFIB’s reasoning is best understood as an application of

the unconstitutional conditions doctrine, which “vindicates the Constitution’s

enumerated rights by preventing the government from coercing people into giving

them up.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013).

And the Program clearly fails under this independent line of authority too.

      In view of the risk that the Government’s financial leverage will cause citizens

to “relinquish[] [their] constitutional rights,” Frost, 271 U.S. at 594, the Supreme

Court closely scrutinizes funding conditions that implicate constitutional freedoms.

The unconstitutional conditions doctrine forbids using spending to extort “the Fifth

Amendment right to just compensation,” Koontz, 570 U.S. at 604, or to “compel[] a

grant recipient to adopt a particular belief” or profess “the Government’s view on an

issue,” Agency for Int’l Dev., 570 U.S. at 218. Conceptually, the goal of the inquiry is

to reject unfair, abusive, or coercive mandates while still allowing the Government to

define the boundaries of its own spending and funding programs.



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      In the speech context, compelling funding recipients “to profess a specific

belief” is never permissible, since that regulation “by its very nature affects protected

conduct outside the scope of the federally funded program.” Id. at 218. Indeed, the

Supreme Court has long been “especially” protective of speech rights, Perry v.

Sindermann, 408 U.S. 593, 597 (1972), and has “broadly rejected the validity of

limitations on First Amendment rights as a condition to the receipt of a governmental

benefit,” Elrod, 427 U.S. at 359 (plurality op.).

      In the takings context, the Government may condition benefits on forfeiture of

property rights only if the condition has an “essential nexus” to the benefit and is

“rough[ly] proportiona[l]” to it. Dolan v. City of Tigard, 512 U.S. 374, 391 (1994); see

also Nollan v. Cal. Coastal Comm’n, 483 U.S. 825, 834–37 (1987); Koontz, 570 U.S. at

604 (confirming that Nollan-Dolan represents proper application of “unconstitutional

conditions doctrine” in the takings context).

      Under these principles, treating the IRA’s demands as funding conditions only

steers the Program headlong into the unconstitutional conditions doctrine. Indeed,

the Program has all the hallmarks of an unconstitutional condition—it uses leverage

from other transactions to achieve the Government’s objectives; offers a “deal” that

no rational manufacturer could ever decline; and exploits the Government’s Spending

Clause power to compel speech and manipulate the marketplace of ideas. This should

be an easy case under the unconstitutional conditions doctrine, because it is obvious

that Congress has sought to pressure manufacturers into abandoning their rights—

not merely to define the boundaries of its own spending.




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      Starting with compelled speech, there is no serious argument that forcing the

manufacturers to publicly “agree” that HHS’s prices are “fair” is a lawful condition.

Agency for International Development establishes that Congress cannot use funding

conditions to require grantees “to pledge allegiance to the Government’s policy.” 570

U.S. at 220. The Program’s compulsion to “agree” with HHS on what is a “maximum

fair price” for the covered drugs is therefore constitutionally unsalvageable.

      As for the Takings Clause, the IRA flunks both prongs of the Dolan test. Of

course the Government could refuse to pay for a particular drug if the manufacturer

did not agree to acceptable price terms for that drug—there, the Government is

simply “defin[ing] the limits” of its own spending program. Agency for Int’l Dev., 570

U.S. at 217. But the Program seeks to extort favorable terms for one transaction by

threatening to terminate other transactions. The latter has no “essential nexus” to

the former, Dolan, 512 U.S. at 386, precisely because the transactions are distinct.

When a condition is “unrelated” to the withheld benefit, it amounts to “extortion.”

Nollan, 483 U.S. at 837–38. Again, the Government can decide what to subsidize

through programs like Medicare, and how much it is willing to pay, but it cannot use

those powers to penalize the exercise of constitutional rights in distinct transactions.

See Harris v. McRae, 448 U.S. 297, 317 n.19 (1980) (recognizing that “substantial

constitutional question would arise if Congress had attempted to withhold all

Medicaid benefits” based on exercise of constitutional right); Cedar Point, 141 S. Ct.

at 2080 (rejecting argument that union “access” mandate was legitimate condition

because it was not “germane to any benefit provided” to employers).




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      At minimum, it is plainly not “rough[ly] proportiona[l]” to terminate coverage

for all of a manufacturer’s products unless it hands over one drug on dictated terms.

Dolan, 512 U.S. at 391; see also FCC v. League of Women Voters, 468 U.S. 364, 400

(1984) (invalidating condition that required radio station receiving “only 1% of its

overall income” from government grants to abstain “from all editorializing”).

Leveraging vast pre-existing and unrelated payments to extort favorable terms for a

distinct transaction marks a coercive condition, not a proportional one. Scholars call

such a condition “cross-collateralized,” and treat it as “a powerful indicator the

condition is disproportionate.” P. Hamburger, PURCHASING SUBMISSION 69 (2021).

And the cross-collateralization here is especially stark, because the grant being used

as leverage is so valuable, both in absolute and relative terms. This cannot possibly

satisfy the second prong of the Dolan test.

      An analogy to antitrust law helps illustrate the point. The Government’s view

is that a pharmaceutical manufacturer violates antitrust laws if it engages in “tying”

by conditioning rebates for its portfolio of popular drugs on granting favored access

to a single other product. See Compl., FTC v. Amgen, Inc., No. 23-cv-3053 (N.D. Ill.

May 16, 2023) (challenging merger based on prospect of such tying). The Program is

the mirror image of such a scheme. By analogy, the Government wields “market

power” as the ultimate payor for Medicare and Medicaid. See Ill. Tool Works Inc. v.

Indep. Ink, Inc., 547 U.S. 28, 46 (2006) (tying claims are viable where “defendant has

market power”). Through the Program, the Government conditions access to that

entire market—nearly half of all U.S. drug sales—on a manufacturer’s “agreement”




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to sell one product at a massive discount. In antitrust terms, the Government thus

abuses its control over the “tying” market (Medicare and Medicaid) to “force”

manufacturers to hand over the “tied” product (the selected drug) at a preferred price.

See Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 13–14 (1984); see also, e.g.,

Compl., United States v. Google LLC, No. 23-cv-00108 (E.D. Va. Jan. 24, 2023), at 138

(alleging abuse of market power over “‘must-have’” advertisement exchange to “coerce

publishers to license” distinct product). The Government can hardly allege that such

behavior is anticompetitive when a private monopolist engages in it, yet deny that the

same behavior is coercive when the Government does so as a public monopsonist.

      For all of these reasons, treating the Program as a condition on federal funds

would not save it—that construction would merely render it unlawful “coercion” to

pressure manufacturers to “giv[e] … up” their constitutional rights. Koontz, 570 U.S.

at 604. At bottom, however viewed, the Program is simply a way for the Government

to take manufacturers’ private property and to conceal that it is doing so. That is

unconstitutional, period.

                                   CONCLUSION

      The Court should enter judgment for Merck and grant its requested relief.




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